
706 S.E.2d 250 (2011)
R.T. HUDGINS
v.
G.W. WAGONER, Jr. and W.K.S. Corporation.
No. 364P10.
Supreme Court of North Carolina.
March 10, 2011.
James G. Exum, Jr., Greensboro, for G.W. Wagoner, Jr., et al.
Drew Brown, Greensboro, for Hudgins, R.T.

ORDER
Upon consideration of the conditional petition filed on the 1st of September 2010 by Plaintiff in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Dismissed as moot by order of the Court in conference, this the 10th of March 2011."
JACKSON, J. recused.
